               CASE 0:19-cv-02914-DSD-BRT Doc. 1-2 Filed 11/01/19 Page 1 of 2
                                                                         i{ cu'1.{ ttt D5D l6m
                                            UNITED STATES DISTRICT COURT
                                                   District of Minnesota
                                                                    Kate M. Fogarty, Clerk
                                                            Tricia lvt Pepin, Chief Deputy Clerk


Warren E. Burger Federal          U.S. Courthouse                        Federal
                                                              Gerald W. Heaney                     Edward ]. Devift U.S. Courthouse
Building and U.S. Courthouse      300 South Fourth Street               Courthouse
                                                              Buililing and U.S.                   and Federal Building
316 North Robert Sueet SuiE 100   Suite 202                   andCustonrhouse                      llSSouth MillStreet Suite 212
SL PauL MN 55101                  Minneapolis, MN55415        515WestFirstsEeet,Suite417           FergusFalls,MN 56537
(6s1) 84&1100                     (612) 564-s000              Dulutlr, MN 55802                    (2Jq739-s758
                                                              (218) s29-3s00




November 5,2019

Camille A. Abboud
46 Chandler Drive
Sairrt Johns, Florida g:2259

Re: Civil Cover Sheet

Dear I\4s. Abboud,

Tfue ClerHs Office has received your Employee Discrimination Complaint. l{owever, we
are returning your documents as we require a Civil Cover Sheet (which I have included
for your convenience) to be filed along with the complaint. Please return the completed
Civil Cover Sheet along with the enclosed documents.

Please contact our office if you need any aclditional inforrnation.

Sincerely,

Kate M. Fogafiy, Clerk

By: M. Perry, Deputy Clerk




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                            CASE 0:19-cv-02914-DSD-BRT Doc. 1-2 Filed 11/01/19 Page 2 of 2
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                                                THE FoRM.)
tlie civil docket sheet (sEE INSTRitcTroNs oN THEREVERSE oF

I.(a) PLAINTIFFS                                                                                          DEFEI\DAIITS
                                                                                                          XCEL ENERGY Inc., XCEL ENERGY SERVTVES
           CAMILLEAABBOUD                                                                                 BENJAMIN G.S. FOWKE,III et al

   @) County ofResidence of FirstListed Plaintilf SAINT JOHNS                                             County of Residence of First Listed Defendant HENNEPIN
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PT,ANTIFF CASES ONLY)
                                                                                                                  NOTE: IN LAND CONDEMNATION              CASES, USE THE LOCATION OF THE
                                                                                                                            LAND INVOLVED,


   (c) Auomey's 6inn Name, Address, and Telephone Number)                                                  Attorneys (lf KnoM)

          N/A

II. BASIS OF JIruSDICTION (Placean"x'inoneBoxonlv)                                             III. CITIZENSmP OF PRINCIPAL PARTIESrpuce an..X' in one Box for plaintiff
                                                                                                       (For Divenity Cases Only)                                       snd Onc Box for Defendant)

tr I    U,S. Govcmrnent                F3 Federal Qusstion                                                                          PTF   DEF                                       PTF DEF
           Plaintiff                            (U.S. Govcrnment Not o Party)                      citizenofThisstatc o               t   Ol      Incorporatcd or Principal   Place O 4 O 4
                                                                                                                                                  ofBusitrcss In This State


O2      U.S. Govemrncnt                E4 Divcrsity                                                CitizenofAnotherstate E 2              tf2     IncorporatcddudPriocipalPtace         .O 5        tr 5
           Defendant                                                                                                                                 ofBusincss ln Another State
                                                (Indicate Citizenship ofParties in ltsm ltr)

                                                                                                   Citizen or Subject ofa           O3     03     ForeignNation                           O6        06



0 llolnsurancc                         PERSONALINJI'RY                   PERSONALINJURY                610 AgriculMe                  E 422 App€al 28 USC 158         o 400 Stale Repportionment
fl l20Mdnc                      O 3l0Airplane          0 362Pcrsonallnjury-                        o 620 OlhrFood & Drug              O 423 Withdnwal                 o 410 Antitust
fl t3oMillffAct                 O 315 Airplanc Pmduct        Mcd. Malpractice                      o 625 Drug Relatcd Scim                 28 USC r57                 a 430 Banks and Buking
O 140 Negotiable Instrurnent          Liability        0 365 PeFonal
                                                       f,              InjurY -
                                                              Personal lnJury                             ofProp€rty 2l USC 881                                       f, 450 Commmc
0 150 Recovery ofov€ryayment O 320Assaulllibel&              Productliability                      o   630 Liquor Laws                                                o 460 Deportation
      & Enforcement of Judgmnt        Slander          E 368 Asbcstos Penoml                       o 640 R.R &Truck                                                   o 470 Racketeer Influerced and
O l5l McdicarcAct               O 330FedenlEmployers' InjuryPmduct                                 o 650 Airline Regs.                                                      Corrupt Organiations

fl 152 Recovery ofDefsulted           Li8bility              Liability                             n 660 Occupational                                                 n 480 Consumr Crcdit
      Studetrt Loans            O 34OMdNE               PERSONALPROPERTY                                  Safety/Healtb                                               o 490 Coble/Sat TV
      @xcl. Vetemns)            O 345MilineProduct O 3TooiherFrdud                                 o 690 Other                                                            810 Selective Service

E 153 Recovery ofOverpayment          Liability        0 371 Truttr in Lending                                                                                            850 Seruities/Cormodities/
       ofVcteian's Benefits     O 3soMotorvehicle D 3S0otherPersonal                                                                                                         Exchange

o 160 Stmkholders'Suie          O 355 Motorvehicle           ProperlyDmage                                                                                            O   8?5 Customer challerge
                                                                                                                                                                             12 usc 3410
o 190 Other Contract                  Productliability O 3AsPropertyDamage                         tr 720 Labor/MgrD.t. Relatione     O 863 Dlwc/Drww (4os(s))
o 195 Coutract Pmduct Liability O 360 OtherPersonal          Productliability                      0 730 Labor/lt4gnt.Reporting       O 864 SSID Tide XVI             0   890 OtherSbtutoryActioDs

o 196                                                                                                     & Disclosurc Act                                            O   891 Agrisultuml Acts
                                                                                                   o   740 Railway Labor Act                                          0   892 Economic Stabilization Act

             Condenmation       D 441 Votins              510 Motions to Vacote                    o   790 Olher Labor Litigation                                     0   893 Environmenl.al Matters
O 220 ForeclosuJe               ( ++z rmplo'ymenr            Sentene                               o   791 Empl. Ret Inc.                  or Defendmt)               0 894EnerryAllmationAct
O 230 Retrtlease & Ejectnent    E rl43 Housinsr'          Hobcrs Corpus:                                   Security Act               O 8?l lRs-Third Party           O 895 Freedomoflnformation
                                                                                                                                                                               Act
0 240 TorB to Land                          Accommodations               530 Cenenl                                                        26 USC 7609
E 245 TonProductliability         O 444 Welfare                          535 Death Penslty                                                                            El 9OOAppeal of Fee Determination
B 290 All Other Real Pmperty      O 445 Amer. dDisabilities -            5t10 Mandamus & Other                                                                                 Under Equal Access
                                            Employmt                     550 Civil Rishb                                                                                       toJBti€
                                  O ,146 Amer. VDisabilities -           555 Prison Condition                                                                         O g5oconstitutionalityof
                                            Other                                                                                                                              State Statutes
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       ORIGIN              (Place an   'X' in One Box Only)
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                                           Cite th" IJ^S. Civii Statute under which you are filing @o not clte jurisdictlonol ststutes unless diversity):

VI. CAUSE OFACTION                         Brief description of cause:

                                                                                                                                                CHECK YES only if demanded in complaint:
VII. REQTIESTED IN                             CTIECK IF TTIIS IS A CLASS ACTION                       DEMAND $
                                               UNDERF.R.C.P.23                                                                       OO0 JURYDEMAND: Et Yes ff No
 VIII. RELATED C                                                                                                                                                               t-tr
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                                              (S€einshuctions):                                                                           DOCKET
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    RECEIPT#                     AMOIJNT                                    APPLYING IFP
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                                                                                                                    ANNED                                 . ...9 s. D|STRICT COURT
                                                                                                                                                          MINNEAPOLIS, MINNESOTA
                                                                                                             Nol/ 15 2019
                                                                                                        U.S. DISTRICT COURT MPLS
